Case 4:20-cv-00957-SDJ Document 353-1 Filed 04/10/24 Page 1 of 2 PagelD#: 9742

Moran, David

From: Moran, David

Sent: Tuesday, April 9, 2024 3:13 PM

To: MCCALLUM, Robert

Ce: Nilsson, William (DAL); SESSIONS, Justina GKS); BOSCO, Veronica; SALEM, Sara; VACA,

Lauren; Paul Yetter; Bracewell, Mollie; Bradley Justus; dpearl@axinn.com; Zeke DeRose;
geraldine.young@nortonrosefulbright.com, Peter M. Hillegas; Marc B. Collier
Subject: RE: Texas v. Google -- Joint request regarding page limits and deadlines

Counsel:
Thank you for reaching out with the requests below.

I applaud the professionalism of working together with respect to these briefing and scheduling issues.
The requests are GRANTED.
Thank you.

David

David T. Moran

Jackson Walker LLP

2323 Ross Avenue, Suite 600
Dallas, TX. 75201

V: (214) 953-6051
dmoran@jw.com

From: MCCALLUM, Robert <rob.mccallum @freshfields.com>

Sent: Tuesday, April 9, 2024 2:52 PM

To: Moran, David <dmoran@jw.com>

Ce: Nilsson, William (DAL) <wnilsson@jw.com>; SESSIONS, Justina (JKS) <Justina.Sessions @freshfields.com>; BOSCO,
Veronica <Veronica.Bosco@freshfields.com>; SALEM, Sara <Sara.Salem@freshfields.com>; VACA, Lauren
<Lauren.Vaca@freshfields.com>; Paul Yetter <pyetter@yettercoleman.com>; Bracewell, Mollie
<mbracewell@yettercoleman.com>; Bradley Justus <bjustus@axinn.com>; dpearl@axinn.com; Zeke DeRose
<Zeke.DeRose@LanierLawFirm.com>; geraldine.young@nortonrosefulbright.com; Peter M. Hillegas
<peter.hillegas@nortonrosefulbright.com>; Marc B. Collier <marc.collier@nortonrosefulbright.com>

Subject: Texas v. Google -- Joint request regarding page limits and deadlines
Case 4:20-cv-00957-SDJ Document 353-1 Filed 04/10/24 Page 2 of 2 PagelD#: 9743

Caution: **External Email.

Special Master Moran:

The parties have met and conferred in advance of filing their respective briefs today and jointly submit the following
request for the Special Master's consideration.

The Special Master's Order dated April 8, 2024 permitted Google to file a motion for a protective order regarding high
level executives and in house counsel depositions of no more than 20 pages (in addition to an opening brief of 10
pages). As discussed with Plaintiffs, Google is also proposing to file a separate motion for a protective order regarding
discovery-on-discovery issues, as part of which Google will address in house counsel depositions.

As a result, Google is proposing to file (1) an opening brief (of no more than 7 pages); (2) a motion for a protective order
regarding high level executives (of no more than 15 pages); and (3) a motion for a protective order regarding discovery-
on-discovery issues and in house counsel depositions (of no more than 12 pages). Plaintiffs are proposing to file a single
opening brief (of no more than 12 pages).

Plaintiffs do not oppose Google’s request to file three briefs with the above page limits. Google does not oppose Plaintiffs’
request for the above page limit. In light of the additional briefing requested, the parties jointly request that the deadline
for all responsive briefs be moved to Monday April 15, 2024 at 5pm CT and that the parties have an equal number of
pages to respond.

Thank you for your consideration.

Respectfully,
Robert J. McCallum

Rob McCallum
Of Counsel

Freshfields Bruckhaus Deringer US LLP
3 World Trade Center

175 Greenwich Street

New York, NY 10007

T +1 212 284 4910

freshfields.com

This e-mail is confidential and may be legally privileged. If you have received it in error, you are on notice of its status.
Please notify us immediately by reply e-mail and then delete this message from your system. Please do not copy it, use it
for any purpose or disclose its contents to any other person; to do so could be a breach of confidentiality. Thank you for
your cooperation. Please contact our IT Helpdesk at GloballTServiceDesk@freshfields.com if you need assistance.

Freshfields Bruckhaus Deringer US LLP has offices in New York, Silicon Valley and Washington, DC. Freshfields
Bruckhaus Deringer LLP is a limited liability partnership registered in England and Wales with registered number
0C334789, and has offices or associated entities in Austria, Bahrain, Belgium, China, England, France, Germany, Hong
Kong, Italy, Japan, the Netherlands, Singapore, Spain, the United Arab Emirates and Vietnam.

Any reference to a partner means a member, or a consultant or employee with equivalent standing and qualifications, of
Freshfields Bruckhaus Deringer US LLP, Freshfields Bruckhaus Deringer LLP or any associated firms or entities.

For information about how Freshfields Bruckhaus Deringer processes personal data please refer to this Privacy notice.
For further information about Freshfields Bruckhaus Deringer, please refer to our website at www.freshfields.com.

